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 Counsel for Individual and Representative
 Plaintiffs and the Proposed Class

                              UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF CALIFORNIA
                                 SAN FRANCISCO DIVISION

Richard Kadrey, Sarah Silverman, Christopher       Case No. 3:23-cv-03417-VC
Golden, Michael Chabon, Ta-Nehisi Coates, Junot
Díaz, Andrew Sean Greer, David Henry Hwang,        PLAINTIFFS’ MOTION TO REMOVE
Matthew Klam, Laura Lippman, Rachel Louise         INCORRECTLY FILED DOCUMENT
Snyder, Ayelet Waldman, and Jacqueline Woodson,
       Individual and Representative Plaintiffs,
       v.
Meta Platforms, Inc., a Delaware corporation;
                                    Defendant.




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       On December 11, 2023, Plaintiffs filed their First Consolidated Amended Complaint (ECF No.

64) (“FCAC”). On December 20, 2023, Defendant Meta Platforms, Inc. (“Meta”) informed Plaintiffs

that it believed certain paragraphs of the FCAC contained information it contends is protected by the

attorney-client privilege that was inadvertently disclosed without authorization by Meta. Although

Plaintiffs disagreed with Meta that the relevant portions of the FCAC contained privileged material

and that any privilege if it applied had been waived, the Parties mutually agreed that the relevant

portions of the FCAC should be redacted pending the dispute’s resolution. Plaintiffs requested that the

ECF Help Desk temporarily “lock” ECF No. 64 while the present motion is pending.

       The Parties are concurrently filing a Joint Administrative Motion To Consider Whether

Material Should Be Filed Under Seal that sets forth applicable authority and support for maintaining

the identified information under seal along with a public redacted version of the First Consolidated

Amended Complaint. Plaintiffs now respectfully request that the Court remove the previously filed

First Consolidated Amended Complaint (ECF No. 64) permanently from the Court’s public docket and

ECF system and the later-filed version of the document should be treated as the operative version.

Dated: December 22, 2023                         By:         /s/ Joseph R. Saveri
                                                             Joseph R. Saveri

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